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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division
ERIN O’LEARY, )
Plaintiff,
V. 5 Civil Action No. 1:20-cv-1398 (RDA/IDD)
IT CONCEPTS, INC., e¢ al.,
Defendants.

ORDER

This matter comes before the Court on the parties’ joint Notice of Settlement. Dkt. 14.
Accordingly, it is hereby ORDERED that all deadlines are VACATED as the parties finalize a
settlement agreement in this case; and

IT IS FURTHER ORDERED that by June 2, 2021 the parties move the Court for an order
dismissing the case pursuant to Rule 41(a)(1)(A)(ii), or, alternatively, submit a joint status report
on the parties’ settlement progress.

It is SO ORDERED.

Alexandria, Virginia
May20), 2021
___
Rossie D. Alston, ¥r. ”

United States District Judge
